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                             Exhibit 22
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
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